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                          UNITED STATES DISTRICT COURT
 9
                       SOUTHERN DISTRICT OF CALIFORNIA
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11     JERRY JACKSON,                                Case No. 19-cv-1889-BAS-BGS
12                                    Plaintiff,         (1) ORDER DISMISSING CASE
                                                             AGAINST DEFENDANT
13                                                           JOSEPH A. BAHRIZ DBA
             v.                                              BROOKLYN PIZZERIA;
14                                                           AND
       JOSEPH A BAHRIZ, et al.,                          (2) ORDER TO SHOW CAUSE
15                                                           WHY CASE SHOULD NOT
                                   Defendants.               BE DISMISSED AGAINST
16                                                           DEFENDANT SIDNEY
                                                             FAMILY LIMITED
17                                                           PARTNERSHIP
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20         In September 2019, Plaintiff Jerry Jackson filed a complaint against
21   Defendants Joseph A. Bahriz dba Brooklyn Pizzeria, and Sidney Family Limited
22   Partnership. On November 14, 2019, Plaintiff received a clerk’s entry of default
23   against Defendant Joseph A. Bahriz dba Brooklyn Pizzeria. On December 30, 2019,
24   because Plaintiff had failed to move for default judgment, the Court ordered Plaintiff
25   to show cause why his case against Defendant should not be dismissed. (ECF No.
26   9); see Civ. L. R. 55.1 (if a plaintiff fails to move for default judgment within 30 days
27   of the entry of a default, the clerk will prepare an order to show cause why the
28   complaint against the defaulted party should not be dismissed). The Court informed

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 1   Plaintiff that he may adequately show cause by moving for default or by establishing
 2   good cause for an extension of time to do so on or before January 30, 2020. Plaintiff
 3   did not file anything by the deadline.
 4         “District courts have the inherent power to control their dockets and, ‘[i]n the
 5   exercise of that power they may impose sanctions including, where appropriate, . . .
 6   dismissal of a case.’” Ferdik v. Bonzelet, 963 F.2d 1258, 1260 (9th Cir. 1992)
 7   (quoting Thompson v. Hous. Auth. of L.A., 782 F.2d 829, 831 (9th Cir. 1986)); accord
 8   Link v. Wabash R.R., 370 U.S. 626, 630–31 (1962) (holding courts are vested with
 9   an inherent power “to manage their own affairs so as to achieve the orderly and
10   expeditious disposition of cases”). This inherent power exists independently of a
11   district court’s authority to dismiss an action under Federal Rule of Civil Procedure
12   41(b). Link, 370 U.S. at 630–32. “Despite this authority, dismissal is a harsh penalty
13   and, therefore, it should only be imposed in extreme circumstances.” Ferdik, 963
14   F.2d at 1260.
15         The circumstances in which a court may exercise its inherent power to dismiss
16   an action include where a plaintiff has failed to prosecute the case, failed to comply
17   with a court order, or engaged in judge shopping. Link, 370 U.S. at 630; Yourish v.
18   Cal. Amplifier, 191 F.3d 983, 989–90 (9th Cir. 1999); Hernandez v. City of El Monte,
19   138 F.3d 393, 399 (9th Cir. 1998). In determining whether to exercise this power,
20   “the district court must weigh five factors including (1) the public’s interest in
21   expeditious resolution of litigation; (2) the court’s need to manage its docket; (3) the
22   risk of prejudice to the defendants; (4) the public policy favoring disposition of cases
23   on their merits; and (5) the availability of less drastic alternatives.” Ferdik, 963 F.2d
24   at 1260–61 (quoting Henderson, 779 F.2d at 1424, and Thompson, 782 F.2d 829 at
25   831) (internal quotation marks omitted). Although it is preferred, the district court
26   is not required to “make explicit findings in order to show that it has considered these
27   factors.” Ferdik, 963 F.3d at 1261.
28         Here, Plaintiff has failed to prosecute this case following default against

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 1   Defendant Bahriz.       He has also not complied with the Court’s order—
 2   notwithstanding its admonition that noncompliance would result in dismissal.
 3   Further, having weighed the appropriate factors, the Court concludes dismissing this
 4   case against Defendant Bahriz is warranted. See Ferdik, 963 F.2d at 1260–61.
 5   Accordingly, the Court DISMISSES WITHOUT PREJUDICE Plaintiff’s claims
 6   against Defendant Joseph A. Bahriz dba Brooklyn Pizzeria. The Clerk is instructed
 7   to terminate this Defendant from the docket.
 8         Further, Plaintiff has not served Defendant Sidney Family Limited
 9   Partnership, despite the fact that he filed his complaint over 4 months ago. See Fed.
10   R. Civ. P 4(m) (“If a defendant is not served within 90 days after the complaint is
11   filed, the court . . . must dismiss the action without prejudice against that defendant
12   or order that service be made within a specified time.”). Therefore, the Court
13   ORDERS Plaintiff to show cause why his claims against Sidney Family Limited
14   Partnership should not be dismissed. Plaintiff may adequately show cause by
15   properly serving Sidney Family Limited Partnership, or by establishing good cause
16   for an extension of time to do so on or before February 24, 2020. Failure to
17   adequately show cause may result in the dismissal of Plaintiff’s case against Sidney
18   Family Limited Partnership.
19         IT IS SO ORDERED.
20   DATED: February 4, 2020
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